Case 0:03-cr-60230-DTKH Document 1 Entered on FLSD Docket 09/30/2003 Page 1 of 5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

03-6020 CR-HURLEY “asmate roax

18 U.S.C. § 3146(a)(1)

UNITED STATES OF AMERICA

 

vs. Be
~ “vO
Cay ww
RABAH EL HADDAD, ar oo
Defendant. ae : =
/ O° : ae
ws S a
INDICTMENT
The Grand Jury charges that:

On or about March 19, 2002, at West Palm Beach, in the Southern District of Florida, the
defendant,

RABAH EL HADDAD,
having been previously charged in the case of United States vs. Rabah El Haddad, Case No. 00-621 1-
CR-HURLEY, with violations of Title 21, United States Code, Sections 841(a)(1) and 846, that is,
conspiracy to possess with intent to distribute a controlled substance, and possession with intent to
distribute a controlled substance, offenses punishable by imprisonment for a term of fifteen years or

more, and having been released by the United States District Court for the Southern District of Florida

 
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pursuant to Chapter 207 of Title 18, United States Code, did knowingly fail to report for a jury trial,
as required by the conditions of his release, in violation of Title 18, United States Code, Sections

3146(a)(1) and 3146(b)(1)(A)(i).

 

A TRUE BILL
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FOREPERBON [i

ISo KAD dre AG

 

MARCOS DANIEL JIMENEZ
UNITED STATES ATTORNEY

 

ASSISTANT UNITED STATES ATTORNEY
UNITED STATES OF AMERICA CASE NO.

vs.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

CERTIFICATE OF TRIAL ATTORNEY*

RABAH EL HADDAD

Defendant.
/ Superseding Case Information:

Court Division: (select One) New Defendant(s) Yes No ——

a

Number of New Defendants —_—___.
Miami = Ke avest ETP Total number of counts —_———
2i~ Tim SC roeder Lyy FE SA'S perma sw
do hereby certify that:

 

1. | have carefully considered the allegations of the indictment, the number of defendants, the
number of probable witnesses and the legal complexities of the Indictment/information
attached hereto.

2. | am aware that the information supplied on this statement will be relied upon by the Judges
of this Court in setting their calendars and scheduling criminal trials under the mandate of the
Speedy Trial Act, Title 28 U.S.C. Section 3161.

3. Interpreter: (Yes or No) —No
List language and/or dialect

 

4. This case willtake 1... days for the parties to try.

 

5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)
i 0 to 5 days —X__ Petty ———.
i 6 to 10 days ———— Minor —_——
IH 11 to 20 days —_——__. Misdem. —_————
IV 21 to 60 days —— Felony ——_xX_
V 61 days and over
6. Has this case been previously filed in this District Court? (Yes or No) —Noa_
yes:
Judge: Case No.

 

 

(Attach copy of dispositive order)
Has a complaint been filed in this matter? (Yes or No) No

 

 

 

 

 

 

if yes:

Magistrate Case No.

Related Miscellaneous numbers: 00-6211-CR-HURI FY

Detendants | in federal custody as of

Defendant(s) in state custody as of

Rule 20 fromthe _-+4+H+HsESesetC~*é«éOéiS Strict OF

Is this a potential death penalty case? (Yes or No) No

7. Does this case one froma matter pending in the U.S. Attorney's Office prior to
April 1, 2003? Yes ___—'No

8. Does this case originate from a matter pending in the U. S. Attorney’s Office prior to

April 1, 1999? Yes _X_No
if yes, was it pending in the Central Region? _—_ Yes ____ No

9. Did this case originate in the Narcotics hus Miami? Yes P No
LAURENCE M.'BARDFELD

ASSISTANT UNITED STATES ATTORNEY
Florida Bar No. 712450

*Penalty Sheet(s) attached REV.7/1 1/03
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: _ RABAH EL HADDAD No.:

 

Count #l:
Failure to appear

18:3146(a)(1)

 

*Max Penalty: 10 years’ imprisonment

Count #:

 

 

*Max Penalty:

Count #:

 

 

 

*Max Penalty:

Count #:

 

 

 

*Max Penalty:

*Refers only to possible term of incarceration, does not include possible fines,

restitution, special assessments, parole terms or forfeitures that may be
applicable.
Case 0:03-cr-60230-DTKH Document 1 Entered on FLSD Docket 09/30/2003 Page 5 of 5

No. FL 05526
UNITED STATES DISTRICT COURT

Southern District of Florida
Central Criminal Division

 

 

THE UNITED STATES OF AMERICA

ys.

RABAH EL HADDAD

 

INDICTMENT

18 U.S.C. § 3146(a)(1)

 

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fio
Lu A OU GULLY

[ Foreperson

A true bill.

ie

 

Filed in open court this day,

 

of 4.D. 2003

 

Clerk

 

 
